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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: DOMESTIC DRYWALL                                                     MDL No. 2437
ANTITRUST LITIGATION                                                        13-MD-2437


THIS DOCUMENT RELATES TO:
All Actions



     ORDER DENYING PLAINTIFFS’ MOTION TO COMPEL DISCOVERY FROM
                           THIRD PARTIES

          AND NOW, this 14th day of November, 2014, upon consideration of Plaintiff’s Motion

to (A) Obtain Unredacted Investigative Files from Thompson Research Group, LLC and

Longbow Research; and (B) Purchase Unredacted Reports from Thompson Research Group,

LLC and accompanying Memorandum of Law (ECF 135, ECF 136), Longbow Research’s

Memorandum in Opposition (ECF 142), Thompson Research Group LLC’s Memorandum in

Opposition (ECF 146), Plaintiffs’ Reply in Support of Their Motion (ECF 151), the oral

arguments presented at the hearing held on October 6, 2014 (ECF 153), and the supplemental

letters filed by counsel (ECF 149, ECF 172), it is hereby ORDERED that Plaintiff’s Motion is

DENIED for the reasons stated in the foregoing memorandum.

                                                                       BY THE COURT:

                                                                       /s/ Michael M. Baylson
                                                                       _______________________________
                                                                       MICHAEL M. BAYLSON, U.S.D.J.


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